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                                                                           U.S. DISTRICT COURT




                          IN THE UNITED STATE DISTRICT COURT

                           STATE OF UTAH, NORTHERN DIVISION


 BONNIE LOU CONGER,

                                    Plaintiff,             ORDER TO SHOW CAUSE
                 vs.                                       Case No. 1:20-cv-00043-DBP
 HOME DEPOT USA, TARACA
 PACIFIC, LINYI HENG SHENG WOOD                           Magistrate Judge Dustin B. Pead
 INDUSTRY CO.,

                                    Defendants.



        On April 24, 2020, pursuant to 28 U.S.C. §§ 1332, 1441 and 1446, Defendant Home

Depot removed the above entitled action to federal court. (ECF No. 2.) Defendants Home Depot

and Taraca Pacific have accepted service and filed Answers. (ECF No. 2-2; 2-3; 4-2; 4-7; 8; 9.)

There is no indication, however, that Defendant Linyi Heng Sheng Wood Industry Co. has been

served and the time within which to do so has expired.

        Federal Rule of Civil Procedure 4(m) requires service within 90 days after a complaint is

filed. Specifically, the rule states:

                If defendant is not served within 90 days after the complaint is
                filed, the court—on motion or on its own after notice to the
                plaintiff—must dismiss the action without prejudice against that
                defendant or order that service be made within a specified time.
                But if the plaintiff shows good cause for the failure, the court
                must extend the time for service for an appropriate period.

Fed. R. Civ. P. 4(m).




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       Accordingly, Plaintiff is hereby Ordered to Show Cause, within seven (7) days of the date

of this Order, as to why her claims against Defendant Linyi Heng Sheng Wood Industry Co.

should not be dismissed for failure to effect timely service. Plaintiffs’ failure to show cause by

October 2, 2020 will result in a recommendation of dismissal as to this Defendant.

       DATED this 25th day of September, 2020.

                                              BY THE COURT


                                              ________________________________
                                              DUSTIN B. PEAD
                                              Magistrate Judge
                                              United States District Court




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